Case 2:04-cr-20092-.]DB Document 54 Fiied 04/18/05 Page 1 of 5 PageiD 55

UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF TENNESSEE FFL.`:` . - _
MEN|PH|S DlVlSlON
05 mate 18 Pri ig. g

UNITED STATES OF AMER|CA
HLEF§{§€T R. et ' lt;uo

-v- 2:04CR20092-01-B and WD- 5511|‘!§,13§;.1113;»0{1§

2:04CR20302-01-B
GRACE FRANC|SCA LONG

Niarty i\lchfee, CJA

Defense Attorney

246 Adams, Suite 200

Nlemphis, TN 38103

 

JUDGIV|ENT |N A CRIIVI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment in case number 04-20092 and
to Count 1 of the indictment in case number 04-20302 on January 12, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Titie & section Mls_of_Off_¢mse offense Mmb£(§l
Concluded
21 U.S.C. § 841 and Possession of Niethamphetamine with 12/28/2003 2
18 U.S.C. § 2 intent to Distribufe (in Excess of 50 (04-20092)
grams) and Aiding and Abetting
21 U.S.C. 841 F'ossession of i\/iethamphetamine with 05/11/2004 1
intent to Distribute (in Excess of 50 (04-20302)

gmm$

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuanth the Sentencing Reform Act of 1984 and the i\/iandatory
Victims Restitution Act of 1996

Count 1 of case number 04-20092 is dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United Sfates Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Detendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 5/8/1969 Apri| 14, 2005
Deff’s U.S. Marshai No.: 19590-076

Defendant’s l\/iaiiing Address:
4253 Trudy
Memphis, TN 38128

 

J. DAN|EL`BHEEN
u ED sTATEs DlsTRlcT JuDGE

This document entered on the docket shea in compliance Apri!_/'~X~_-' 2005
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Case No: 2:020820092-01-5 Defendant Name: Grace Francisca LONG Page 2 of 4

INIPRlSONNIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 Months.

The Court recommends to the Bureau of Prisons:
That the defendant be placed in a facility as close to Carsweii, Texas, as possible

The defendant is remanded to the custody of the United States i\/larshai.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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Case No: 2:02CR20092-01»B Defendant Name: Grace Francisca LONG Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDAF'ID COND|TIONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employmentl
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:02CR20092-01-B Defendant Name: Grace Francisca LONG Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment,

ADDIT|ONAL COND|T|ONS OF SUPERV!SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer.

2. Defendant to cooperate with DNA collection as directed by the Probation Officer.

CR||VI|NAL lViONETAFtY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitution
$200.00
The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Fiestitution was ordered.

 

""DISICT COUR - WESERNT DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20092 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

